                                          Entered on Docket
                                          January 25, 2018
                                          EDWARD J. EMMONS, CLERK
                                          U.S. BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF CALIFORNIA


 1 SHEPPARD, MULLIN, RICHTER
   & HAMPTON LLP
 2 A Limited Liability Partnership
   Including Professional Corporations
 3 STEVEN B. SACKS,                    The following constitutes
   Cal. Bar No. 98875                  the order of the court. Signed January 25, 2018
 4 ssacks@sheppardmullin.com
   MICHAEL M. LAUTER,
 5 Cal. Bar No. 246048                  _________________________________________________
   mlauter@sheppardmullin.com           M. Elaine Hammond
 6 ISAIAH Z. WEEDN,                     U.S. Bankruptcy Judge
   Cal. Bar No. 229111
 7 iweedn@sheppardmullin.com
   Four Embarcadero Center, 17th Floor
 8 San Francisco, CA 94111-4109
   Telephone: 415-434-9100
 9 Facsimile: 415-434-3947
10 Attorneys for Plaintiff,
   MUFG UNION BANK, N.A.
11
                           UNITED STATES BANKRUPTCY COURT
12
                            NORTHERN DISTRICT OF CALIFORNIA
13
                                   SAN JOSE DIVISION
14
15 In re                                           Case No. 15-50801
16 ROBERT BROWER, SR.,                             Chapter 11
17                      Debtor.
18
     MUFG UNION BANK, N.A.,                        Adv. Proc. No. 17-05044
19
                        Plaintiff,                 TEMPORARY RESTRAINING
20         v.                                      ORDER AND ORDER TO SHOW
                                                   CAUSE WHY PRELIMINARY
21 ROBERT BROWER, SR., an individual,              INJUNCTION SHOULD NOT BE
   PATRICIA BROWER, an individual,                 ISSUED
22 COASTAL CYPRESS CORPORATION,
   a California corporation, COASTAL
23 CYPRESS CORPORATION, a Delaware                Place: United States Bankruptcy Court
   corporation, AMERICAN                                 280 South First Street
24 COMMERCIAL PROPERTIES, INC., a                        San Jose, CA 95113-3099
   Nevada corporation, ANTHONY                    Judge: Hon. M. Elaine Hammond
25 NOBLES, an individual, WILFRED                 Crtrm: 3020
   “BUTCH” LINDLEY, an individual,
26 RICHARD BABCOCK, an individual,
   PATRICIA BROWER TRUST, and DOES
27 1-50,
                        Defendants.
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 1         The Court, having considered the ex parte application (the “Application”) of
 2 Plaintiff MUFG Union Bank, N.A. (“Union Bank”) filed on January 24, 2018 for a
 3 temporary restraining order against all Defendants American Commercial Properties, Inc.
 4 (“ACP”), Coastal Cypress Corporation, a Delaware corporation (“Coastal Delaware”),
 5 Coastal Cypress Corporation, a California corporation (“Coastal California,” and together
 6 with Coastal Delaware, “Coastal”), Patricia Brower, and Robert Brower, Sr., the evidence
 7 and record submitted in support of the Application, and finding good cause for the relief
 8 requested in the Application,
 9         HEREBY ORDERS THAT ACP, Coastal, and their officers, directors, agents,
10 affiliates, servants, employees, and attorneys, and all persons in active concert or
11 participation with any or all of them (including but not limited to Patricia Brower and
12 Robert Brower, Sr.), who receive notice of this order as set forth below, from transferring,
13 encumbering, dissipating or otherwise disposing in any manner or by any means the net
14 proceeds of the sale of the residence owned by ACP with a mailing address of 28088 Barn
15 Court, Carmel, CA (the “Barn Court Residence”). Coastal and ACP shall place the net
16 proceeds of the Barn Court Residence in a blocked account where such proceeds shall
17 remain until the resolution of the Second Claim for Relief in the first amended adversary
18 complaint filed by Union Bank in this action. For the purposes of this Order, “net
19 proceeds” shall include the sale price less any payments made out of escrow for ordinary
20 closing costs, broker commissions of six percent or less, and the release of liens other than
21 the liens of the two Coastal Deeds of Trust (as defined in the Application), or any other
22 lien held by Robert Brower, Sr., Patricia Brower, or any of the other defendants in this
23 lawsuit. In other words, all funds to be paid to either ACP or Coastal from the sale of the
24 Barn Court Residence should be deposited into a blocked account and remain there
25 pending resolution of the Second Claim for Relief.
26         FURTHER, THE DEFENDANTS ARE HEREBY ORDERED TO SHOW
27 CAUSE, at 10:30 a.m. on February 15, 2018, or as soon as soon thereafter as counsel may
28 be heard in the courtroom of the Honorable M. Elaine Hammond, located at 280 South

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 1 First Street, San Jose, CA 95113-3099, Courtroom 3020, why the Court should not issue a
 2 preliminary injunction that shall remain in effect pending further order of this Court or
 3 entry of final judgment herein.
 4         IT IS ALSO HEREBY ORDERED THAT this Order (the "Order To Show
 5 Cause") shall be served upon all defendants in this adversary proceeding by personal
 6 service, overnight mail, email or facsimile within two (2) business days of the issuance
 7 hereof. Union Bank, and any other party in interest, shall file and serve all pleadings and
 8 papers in connection with the hearing on the Order to Show Cause on all defendants and
 9 the United States Trustee's representative by personal service, overnight mail, email or
10 facsimile by no later than January 29, 2018, and proof of service thereof shall be filed no
11 later than January 29, 2018. Any response or opposition to this Order To Show Cause
12 must be filed and served by personal service, overnight mail, email or facsimile on Union
13 Bank’s counsel and the United States Trustee's representative no later than February 7,
14 2018, and proof of service shall be filed no later than February 7, 2018. Any reply by any
15 party in interest shall be filed by February 13, 2018, and proof of service shall be filed no
16 later than February 13, 2018.
17                                    ** END OF ORDER **
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 1                                    Court Service List
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 3                                           None.
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